            Case 1:21-cr-00236-KAM Document 39 Filed 04/14/22 Page 1 of 1 PageID #: 329
U.S.D.J. KIYO A. MATSUMOTO                             APRIL 14, 2022                 TIME: 11:00a.m. -1:00 p.m.


                                     CRIMINAL CAUSE FOR SENTENCING                                   FILED
                                                                                                    IN CLERK'S OFFICE
                                                                                              U.S. DISTRICT COURT E.D.N.Y.
DOCKET #21-CR236 [KAMI U.S.A. v. Shimon Rosenfeld (dob)
                                                                                             * APR H 2022 *
DEFENSE COUNSEL: Susan R. Necheles (Retained!
                                                                               DEPUTY:                        OFFICE
A.U.S.A: Hiral Mehta                      C/R: Victoria Butler


X   CASE CALLED.                        X DEFENDANT SWORN AND INFORMED OF RIGHTS


X SENTENCmOHELD.                      X STATEMENTS OF DEFENDANT AND COUNSEL HEARD


X_ DEFENDANT SENTENCED ON COUNT(S)l_ INFORMATION


IMPRISONMENT: 6 months.

The court respectfully recommends that, if deemed appropriate by the BOP, Mr. Rosenfeld be designated to FCI
Otisville, to facilitate family visits and defendant's religious observance.

SUPERVISED RELEASE: 3 years WITH SPECIAL CONDITIONS (see jdmt)

OTHERS


$100.00 S. Assessment        $0.00 Fine       $6,787,525.00 Restitution          $4,000,000,0^ Forfeiture

Transcript Ordered.

Remaining none is dismissed on the motion ofthe United States.

    IFF Granted.

X Court advised defendant of right to appeal.

2L_Gov't to return defendant's property, if any.
